Case Z:Q§;%ngPQ)ZBZ-BBD Document 42 Filed 08/15/05 Page 1 of 2 Page|D 47

lNTM ENT OF .»\Nl) AUT]|OR|TY TO PA\' (_`[)URT .APPOINTF.D COUNSEL

 

1. ch./ols'r./mv. CODE
TNW

z. Pe:tzso:\' REPRF.sr.NTr,I)
McC]ain, Erriss

 

VOUCIIER NUMBER

 

 

3. .\'1AG. DK'l`.lDEF. NUMHER 4. DIST. DKT.IDEF. NL‘MBER

2:05-020252-002 -O

5. APPEALS DKTJDEF. NUM BER 6. OTl{ER DKT. NUMBFZR

 

7.1N cAsl~:rMAwF.R or
U.S. v. McClain

tCase |\`ome) B. PAYM ENT CATEGORY

 

 

9. TYPE PERSON REPRESENTED l(l. REP RESENTATFUN TYPE

lSee Instrum'ons)

 

 

Felony Adult Defendam Crimmal Case
il. OFFENSE(S) CH ARGED {Cite U.S. Codl.'. Tiile & Seett'tm) ll'mor'a than one offense, list (up to live) major uf`hnses charged. according to severity ol' oll'cnse.
ll 18 1343. F -- FRAUD BY WIRE, RADiO, OR TELEVIS]ON A'

 

ll ATTORNEY'S NAME (First Name, M.|., Last Nume. including anysul`l'lx)
AND MAIL[NG ADDRESS

IRBY, ROBERT
4345 E. MALLORY AVE.
MEMPHIS TN 381]1

'l'c|ephoue Number:

l-l. NAME`, AND MAILING ADDRESS OF I.A\\’ F'IRM (on|y provide perinstructions]

 

 

 

13. COURT ORDER
0 Appointing Counse| m

ij l" Sul)s For Federal Defemier

:| }‘ Suhs For Pane|Attnmey

w ~.
“1§
405

/.\ , _'/,_
/\ `
`\/Sf» 1

C Co-Counse|

ij R Suhs For Retained Attorney
|I v Soumby counsel

Prior Attorney‘s Name: w

\.
Appoinrment hale:

 

 

ij Because the above-named person represented has testified under oath or has;{:¢¢,,,_"' /
otherwise satisfied this court that he or she (!|) is financially unable tn employ catan '
(2) does not wish to waive counse|, and because the interests ofjnstire so require. the

anomey whose name appears in ltem 12 is appointsg:o€|;:`esenl this person in this case.

l]r / /
[l courts hii\roc%;'_ j l
,.- / imm 6 _)
Signatnre ol' Presiding .ludicia| Ol'l`leer or By Order ofthe Conrt
(lR/ 1 ()D()(l€
Date oft’)rder Nunc Pro Tunc Date

Repnymcnt or partial repayment ordered from the person represented for this service at
time ofoppointmenl. i:i YES [l NO

 

 

gumz 4 _ `Fvn"smzvl¢zsfm" §` `r.xl>’ asses'j`

 

CATEGORI F.S [Amu:h itemization ofservices with dates}

ll()URS
CLA]MED

 
 

MATHF[`ECH
ADJUSTED
AMOUNT

'I'OTAL
AMOUNT
CLA [MED

ADJUSTED
HOURS

ADDlTlONAL
REVIEW

 

lS. a. Arraignment and/or Plea

 

b. Bai| and Detention llearings

 

 

 

c. Motion Hearings

 

 

 

d. Trial

 

 

 

e. Sentencing llearings

 

 

 

f. Revocation Hearings

 

 

 

g. Appeals Cour1

-‘==n =-

 

 

 

h. OIher (Specify on additional sheels)

 

 

 

(Rnte per hnur=$ ] TOTALS:

 

.-""\

a. Intervicws and Conferences

 

lJ. Obtaining and reviewing records

 

 

 

e. Legal research and brief writing

 

 

 

ci. Travcl time

 

 

 

c. Investigativ c and Other work (sp¢¢iry on additional sham

--q=cf'j -sa ~‘=O

 

 

 

 

(Rate per hour = $ ) TOTALS:

 

t‘?. Travel Expcnses [lodging. parking mcals, mileag¢, etc.)

 

 

 

 

    

 

 

 

 

 

 

 

 

 

FROM TO

 

   

2|]. APPOINTMENT TERMINAT|ON DA'I`E

21. CASE DlSPO SlT]ON
lF C|THER TllAN CASE C()MPLET|ON

 

 

 

22. C LAIM STATUS i:i Final Payment i:i lnterim Payment Numher

representatiun'.' Ei YES [i NO ll' yes,give details nn additional sheets.
l swear or affirm the truth or correctness of the above statements.

Sigl\arure anttnmey:

Ha\‘e you previously applied to the court |'a' compensation andior remimbursemenl fur this euse'.'
Other than from the cnnrt, have you. or toyour knowledge has anyone else, received payment (enmpensation or anything or value) from any other source in connection with this

ij Supplementai Poyment

ij YES ij NO lfyes.we.re you puid‘.' ij YES ij NO

Date:

 

 

 

 

 
 
     

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:;_P»oii):;:sovw»'é~wo '

 
 

 

25. lN COURT COMP. 14. OUT OF COURT COM P.

25. TRAVEL EXPENSES

26. OTHER EXPENSES 17. TOTALAMT.APPR/CERT

 

18. SIGNATURE OF THE PRES]D|NG JUDICIAL OFFICER

[)ATE 281 JUDGE l' MAG..]U|']GE CODE

 

29. IN COURT C()MP. 30. OU'I` OF COURT COM P.

 

 

31. TRAVEL EXPENSES

32. OTHF.R EXPENSES 33. TOTALAMT.APPROVED

 

approved in neese ofthe statutory threshold amoun .

 

34. SlGNATURE OF CH|EF .IUDGE, COURT O'F APP EALS (OR DELEGATF,] Faymenl

DATE 34a. JUDGE CODE

 

 

 

 

This document entered on the docket sheet in compliance
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s:s`

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This notice confirms a copy of thc document docketed as number 42 in
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Honorablc Bcrnicc Donald
US DISTRICT COURT

